                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

ABDUL CRAWFORD,
                                                 Case No. 6:23-cv-01780-RBD-DCI
            Plaintiff,

v.

NORTH AMERICAN CREDIT
SERVICES, INC.,

            Defendant.
                               /

                DECLARATION OF ABDUL CRAWFORD

      I, ABDUL CRAWFORD, declare under penalty of perjury that the
foregoing is true and correct:
     1.    My name is Abdul Crawford. I am over the age of 18, and am
competent to testify to the following facts if called upon to do so.
      2.    I am the Plaintiff in this action.
      3.   On June 21, 2022, I sustained an injury in the course and scope of
my employment with AdventHealth which required immediate medical
treatment.
     4.    Specifically, I was rear-ended while driving a company vehicle. I
was at work, making a delivery. I was also wearing my company uniform.
      5.    I was transported by ambulance to the emergency room at the
AdventHealth hospital in Deland, FL and subsequently admitted there for a
period of approximately seven (7) days.
       6.    During my stay in the hospital, a portion of the medical treatment
I received for my injury was provided by AdventHealth.
      7.     While undergoing treatment during my hospital stay, I discussed
with the AdventHealth doctors and staff with whom I spoke the nature of my
injuries, including the fact that my injuries occurred during the course and
scope of my employment.
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      8.   I was discharged from the AdventHealth hospital in Deland, FL on
or about June 28, 2022.
       9.    Around early November, 2022 I received a debt collection letter
from Defendant, attempting to collect an AdventHealth medical bill in the
amount of $117.55, allegedly for treatment related to my work accident. That
letter, along with a few others, upset me considerably since I believed all of my
medical bills were being paid by my employer.
      10. On December 2, 2022, after it became apparent to me that some of
my medical bills were not being timely paid by my employer, I (with assistance
from counsel) opened a workers’ compensation case by filing a Petition for
Benefits requesting AdventHealth and/or its workers’ compensation insurance
carrier to provide benefits for past medical care related to my work accident
and injury.
      11. Later on in December, I received a second debt collection letter
from Defendant, dated December 20, 2022, attempting to collect yet another
AdventHealth medical bill, this time in the amount of $675.84, and again, for
treatment related to my work accident.
      12. On December 30, 2022, I filed second Petition for Benefits, again
requesting AdventHealth and/or its workers’ compensation insurance carrier
to provide benefits for past medical care related to my work accident and
injury.
      13. When I became aware that debt collectors, like Defendant, were
prohibited by law attempting to collect from me or even contact me about
medical expenses covered by the Florida Workers’ Compensation laws, I
authorized the filing of this action.


Executed on June 4, 2024.


                                     s/
                                     Abdul Crawford
